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                   EXHIBIT B
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                  Certificate of Admission
                   To the Bar of Illinois
I, Cynthia A. Grant, Clerk of the Supreme Court of Illinois, do hereby certify that



                               Edward Patrick Gilman


has been duly licensed and admitted to practice as an Attorney and Counselor at
Law within this State; has duly taken the required oath to support the
CONSTITUTION OF THE UNITED STATES and of the STATE OF ILLINOIS, and
also the oath of office prescribed by law, that said name was entered upon the Roll
of Attorneys and Counselors in my office on 11/10/2005 and is in good standing, so
far as the records of this office disclose.




                                        IN WITNESS WHEREOF, I have hereunto
                                              subscribed my name and affixed the
                                              seal of said Court, this 5th day of
                                              June, 2023.


                                                     C~i~ ~- ~rMX'
                                                                               Clerk,
                                                Supreme Court of the State of Illinois
